        Case 1:23-cv-01004-RP          Document 199         Filed 03/18/25      Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

BERNHARDT TIEDE, II;                              §
TEXAS PRISONS COMMUNITY                           §
ADVOCATES; BUILD UP, INC. A/K/A                   §
JUSTICE IMPACTED WOMEN’S                          §
ALLIANCE; TEXAS CITIZENS UNITED                   §
FOR REHABILITATION OF ERRANTS;                    §
and COALITION FOR TEXANS                          §
WITH DISABILITIES,                                §
      Plaintiffs,                                 §                   Civil Action No.:
                                                  §                   1:23-CV-01004-RP
v.                                                §
                                                  §
                                                  §
BRYAN COLLIER, in his official capacity           §
as Executive Director of Texas Department         §
of Criminal Justice,                              §
       Defendant.                                 §

         DEFENDANT COLLIER & THE OAG’S ADVISORY TO THE COURT

       Defendant Bryan Collier and the Office of the Attorney General (“OAG”) files this Advisory

to the Court providing an update on the inaccurate Stiles Unit outdoor temperature logs introduced

into evidence on August 2, 2024, at the hearing on Plaintiff’s Motion for Preliminary Injunction.

       At the end of the Preliminary Injunction hearing, the following exchange occurred between

the Parties and the Court:
        Case 1:23-cv-01004-RP           Document 199        Filed 03/18/25       Page 2 of 3



       Undersigned counsel was recently informed that Plaintiffs’ Counsel interpreted this comment

from the Court to be an “order from the bench” for Defendant “to notify the court about the origins

and nature of the document.” While Defendant always intended to conduct an internal investigation

into the document without the necessity of a Court order, the OAG did not construe the Court’s

comment as an order to produce the results of the investigation to the Court.

       Out of an abundance of caution, Defendant and the OAG now provide the Court with an

update regarding the investigation into the inaccurate outdoor temperature logs. Following the hearing

on Plaintiffs’ Motion for Preliminary Injunction, Defendant Collier requested an investigation into the

document by an uninterested party. This investigation was conducted by Chris Cirrito, Chief Audit

Executive of the Texas Board of Criminal Justice (“TBCJ”). The investigation revealed the outdoor

temperature log was created in 2022, before the initiation of this lawsuit. Neither Defendant nor the

OAG had any intent to mislead or deceive the Court with the introduction of this log, and did not

have knowledge of the inaccuracies included in the log, before it became apparent during the

preliminary injunction hearing when the log was produced as rebuttal evidence.

       Defendant timely provided the investigation to Plaintiff on February 24, 2025, in response to

Plaintiff’s Requests for Production, which were served on January 24, 2025. Defendant, through the

OAG, produced the investigation to Plaintiffs and now Defendant and the OAG file this advisory

with the Court to provide clarity and a show of good faith effort to be transparent.


                                                   Respectfully submitted,

                                                   KEN PAXTON
                                                   Attorney General of Texas

                                                   BRENT WEBSTER
                                                   First Assistant Attorney General

                                                   RALPH MOLINA
                                                   Deputy First Assistant Attorney General



                                                  2
        Case 1:23-cv-01004-RP          Document 199        Filed 03/18/25      Page 3 of 3



                                                  AUSTIN KINGHORN
                                                  Deputy Attorney General for Civil Litigation

                                                  SHANNA E. MOLINARE
                                                  Assistant Attorney General
                                                  Chief, Law Enforcement Defense Division

                                                  /s/ Abigail K. Carter
                                                  ABIGAIL K. CARTER
                                                  Assistant Attorney General
                                                  Texas State Bar No. 24126376
                                                  Abigail.Carter@oag.texas.gov
                                                  Office of the Attorney General
                                                  P.O. Box 12548
                                                  Austin, Texas 78711-2548
                                                  (512) 463-2080 / Fax (512) 370-9814

                                                  ATTORNEYS FOR DEFENDANT



                                       Certificate of Service

        I, Abigail K. Carter, Assistant Attorney General of Texas, certify that a correct copy of the

foregoing has been served on all counsel of record on March 18, 2025, using the Court’s electronic

filing system.

                                                  /s/ Abigail K. Carter
                                                  Abigail K. Carter
                                                  Assistant Attorney General




                                                 3
